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                                                     U.S. Department of Justice

                                                     Andrew E. Le!ling
                                                     United States Attorney
                                                     District of Massachusetts

Main Reception: (617) 748-3100                       John Joseph Moakley United States Courthouse
                                                     I Courthouse Way
                                                     Suite 9200
                                                     Boston, Massachusetts 02210

                                                     April 3,2019

Jeremy Sternberg, Esq.
Holland & Knight
10 St. James Avenue, 11th Floor
Boston, MA 02116

        Re:     United States v. Agustin Francisco Huneeus

Dear Mr. Sternberg:

        The United States Attorney for the District of Massachusetts ("the U.S. Attorney") and your
client, Agustin Francisco Huneeus ("Defendant"), agree as follows:

        1.      Change of Plea

       No later than April 30, 2019, Defendant will waive Indictment and plead guilty to count
one of the Information charging him with conspiracy to commit mail fraud and honest services
mail fraud, in violation of Title 18, United States Code, Section 1349. Defendant admits that he
committed the crime specified in that count and is in fact guilty of that crime. Defendant also
agrees to waive venue, to waive any applicable statute of limitations, and to waive any legal or
procedural defects in the Information. Defendant does not dispute the accuracy of the Information.

       The U.S. Attorney agrees that, based upon the information known to the U.S. Attorney's
Office at this time, no further criminal charges will be brought against Defendant in connection
with the conduct set forth in the Information.

        2.      Penalties

        Defendant faces the following maximum penalties: incarceration for 20 years; supervised
release for three years; a fine of $250,000, or twice the gross gain or loss, whichever is greater; a
mandatory special assessment of $100; restitution; and forfeiture to the extent charged in the
Information.
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       3.      Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant's total "offense
level" under the Guidelines is 16:

               a) Defendant's base offense level is 7, because Defendant is pleading guilty to an
                  offense of conviction that has a statutory maximum term of imprisonment of 20
                  years or more (USSG § 2B1.1(a)(1));

               b) Defendant's offense level is increased by 12, because the actual or intended
                  gain or loss from the offense of conviction is more than $250,000 but not more
                  than $550,000 (USSG § 2B1.1(b)(1)(G)); and

               c) Defendant's offense level is decreased by 3, because Defendant has accepted
                  responsibility for his crime (USSG § 3E1.1(b)).

       Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

       Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant does not clearly accept
responsibility for the crime he is pleading guilty to committing; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       If, after signing this Agreement, Defendant's criminal history score or Criminal History
Category are reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) incarceration for a period of 15 months;

               b) a fine or other financial penalty of $95,000;

               c) 12 months of supervised release;

               d) a mandatory special assessment of $100, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing;


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               e) restitution in an amount to be determined by the Court at sentencing; and

               f) forfeiture as set forth in Paragraph 6.

       5.      Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge his conviction and sentence on "direct appeal." This
means that Defendant has the right to ask a higher court (the "appeals court") to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant's conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

       Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

               a) He will not challenge his conviction on direct appeal or in any other proceeding,
                  including in a separate civil lawsuit; and

               b) He will not challenge his sentence, including any court orders related to
                  forfeiture, restitution, fines or supervised release, on direct appeal or in any
                  other proceeding, including in a separate civil lawsuit.

         Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence will be final when the Court issues a written judgment after the sentencing hearing
in this case. That is, after the Court issues a written judgment, Defendant will lose the right to
appeal or otherwise challenge his conviction and sentence, regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these rights in
the first place.

      Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

       The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor engaged in
misconduct serious enough to entitle Defendant to have his conviction or sentence overturned.

        6.      Forfeiture

        Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.


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         7.    Civil Liability

        This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charge
specified in Paragraph 1 of this Agreement.

         8.    Breach of Plea Agreement

        Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant's breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

        If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant's statements, and any information or materials
he provided to the government during investigation or prosecution of his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

        Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

         9.    Who is Bound by Plea Agreement

        This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

         10. Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.




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       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Eric S. Rosen.

                                            Sincerely,

                                            ANDREW E. LELLING
                                            United States Attorney


                                    By:
                                                       E. FRANK
                                            Chief, Securities and Financial Fraud Unit
                                            JORDI DE LLANO
                                            Deputy C ief, S urities and Financial Fraud Unit



                                            ERIC S. ROSEN
                                            JUSTIN D. O'CONNELL
                                            KRISTEN A. KEARNEY
                                            LESLIE A. WRIGHT
                                            Assistant U.S. Attorneys




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                       ACKNOWLEDGMENT OF PLEA AGREEMENT

       I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney's Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney's Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have received no prior offers to resolve this case.

        I understand the crime I am pleading guilty to, and the maximum penalties for that crime.
I have discussed the Sentencing Guidelines with my lawyer and I understand the sentencing ranges
that may apply.

       I am satisfied with the legal representation my lawyer has given me and we have had
enough time to meet and discuss my case. We have discussed the charge against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

        I am entering into this Agreement freely and voluntarily and because I am    fact guilty of
the offense. I believe this Agreement is in my best interest.



                                                 Agustin Fm      co I-lune us
                                                 Defendant


                                                 Date:

       I certify that Agustin Francisco Huneeus has read this Agreement and that we have
discussed what it means. I believe Agustin Francisco Huneeus understands the Agreement and is
entering into it freely, voluntarily, and knowingly. I also certify that the U.S. Attorney has not
extended any other offers regarding a change of plea in this case.



                                                 Jeremy Stemberg, Esq.
                                                 Attorney for Defendant



                                                 Date:




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defenses I might have, the terms of this Agreement and whether I should go to trial.

        I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offense. I believe this Agreement is in my best interest.



                                                 Agustin Francisco Huneeus
                                                 Defendant


                                                 Date:

       I certify that Agustin Francisco Huneeus has read this Agreement and that we have
discussed what it means. I believe Agustin Francisco Huneeus understands the Agreement and is
entering into it freely, voluntarily, and knowingly. I also certify that the U.S. Attorney has not
extended any other offers regarding a change of plea in this case.



                                                 Jeremy Sternberg, Esq.
                                                 Attorney for Defendant



                                                 Date:     Vivilq


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